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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NORTH DAKOTA
                               WESTERN DIVISION


PHARMACEUTICAL CARE MANAGEMENT
ASSOCIATION,                                                   No. 1:17-CV-00141

                     Plaintiff,

v.

MYLYNN TUFTE, in her official capacity as the                NOTICE OF APPEAL
State Health Officer of North Dakota; MARK J.
HARDY, in his official capacity as the Executive
Director of the North Dakota Board of Pharmacy;
STEVEN P. IRSFELD, in his official capacity as the
President of the North Dakota Board of Pharmacy;
and WAYNE STENEHJEM, in his official capacity
as the Attorney General of North Dakota,

                     Defendants.


       Notice is hereby given that Plaintiff Pharmaceutical Care Management Association

(“PCMA”) hereby appeals to the United States Court of Appeals for the Eighth Circuit from the

Judgment entered September 5, 2018 (Dkt. No. 52), the Order entered September 5, 2018,

granting Defendants’ Motion for Summary Judgment in part and denying Plaintiff’s Motion for

Summary Judgment in part (Dkt. No. 51), and all other interlocutory orders, rulings, and

decisions merged into the Judgment.
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Dated: September 5, 2018               Respectfully submitted,
                                       By:   /s/ M. Miller Baker
                                             M. Miller Baker

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                                       Association




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                                  CERTIFICATE OF SERVICE

       I hereby certify that on September 5, 2018, the foregoing document was filed

electronically with the Clerk of Court through ECF and that ECF will send a Notice of Electronic

Filing (NEF) to all participants in this case.


Dated: September 5, 2018                           By:   /s/ M. Miller Baker
                                                         M. Miller Baker




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